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 AO91(Rev.11/11) CriminalComplaint

                                  U NITED STATES D ISTRICT C OURT
                                                              forthe
                                                    Southern D istrictofFlorida
               United StatesofAm erica

                                                                        CaseNo. l2-5001-SNOW


        LEW IS DOMINGUEZ-RODRIGUEZ



                                          CR IM IN A L C O M PLA IN T
       1,the complainantin thiscase, statethatthefollow ing istrueto thebestofmy know ledge and belief.
Onoraboutthedatets)of                January 13,;-q12 . -
                                                      -                inthecountyof M onroecApd qlselher# in the
                                                                                                             .               -



   jouthçgp-
        -            Districtof         Fpp!r!.
                                            . t!.
                                                :           ,thedefendantts)violated:
            CoyeSection                                                   OffenseDescrtption
 8 U.S.C.j 1324(a)(1)(A)(I),         Thedefendant,LEW IS DOM INGUEZ-RODRIGUEZ, knowing thataperson isan alien,did
and 18U.S.C.j2.                      knowingly and intentionally bring toand attempttobring to the United Statesin anymanner
                                     whatsoeversuch person ataplace otberthan adesignatedpol4 ofentry orplace otherthan as
18 U.S.C.j 2237(a)(1)and 2.          designated by theCommissioner,regardlessofwhethersuch alien hasreccived priorofficial
                                     authorization to cometo,enter,orresidein theUnited Statesand regardlessofanyfutureofficial
                                    actionwhichmaybetakenwithrespecttosuchaliensinviolationof8USC j l324(a)(1)(A)(i)and 18
                                    USC j2;andbeingamaster,operator,andpcrson inchargeofavesseloftheUnitedStates,anda
                                    vessclsubjecttothejurisdictionoftheUnitedStates,didknowinglyfailtoobeyanorderbyan
                                    authorized Federal1aw enforcemcntoft
                                                                       icerto heaveto thatvessel, inviolationofl8USC j
                                    2237(a)(1)and2.
       Thiscriminalcomplaintisbasedonthesefacts:

                Seeattached affidavit.
                                                                                                   .''
                                                                                                   .

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       (
       D Continued on the attached sheet.                                                  /
                                                                                                         .
                                                                                                         '




                                                                                         Complainant'
                                                                                                    ssignature

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                                                                                  -                             ..rp.
                                                                                                                 .  I
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                                                                                                                       .

                                                                                          Printed nameand title

Sworn to before me and signed in my presence.


       zzv/a o.,
       V
Date:.-. .       -

                                                                                           Judge'
                                                                                                ssignature
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 tyandstate:K             t.o'cs4,jF2-                                      LUM NA S.SèNOW,U.S:MAGISTRATEJUDGE
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                                          A FFIDA V IT
    1,M ike Petersen,being duly sw orn, hereby deposeand say:

   1am aBorderPatrolAgentwith theUnited StatesBorderPatrol, Custom sand Border

   Protection,Departm entofHom eland Security. lhavebeenwiththeserviceforthirteen (13)

   years. Iam presently assignedto theM arathon BorderPatrolStation in M arathon, Florida.

2. Thisaftidavitism adein supportofthe arrestofLewisDom inguez-Rodriguez. Itisbelieved

   thatLewisDominguez-Rodriguezbrought,and attem pted to bring, aliensto the U nited

   Statesknow ing that such personsw ere aliens, ataplaceotherthan adesignatedportofentry

   and aplaee otherthan designated by the Comm issionerregardlessofwhethersuch alienshad

   received priorofficialauthorization to com e,to enter,orresidein theUnited Statesand

   regardlessofany future officialadionwhich m ay betaken with respectto such aliens, in

   violationofTitle8,UnitedStatesCode,Section 1324(a)(1)(A)(i)andTitle 18,UnitedStates
   Code,Section 2'
                 ,and,asmaster,operator,orperson in chargeofavesseloftheUnited States,

   did knowingly failto obey ordersgiven by authorized federallaw enforcem entoffcersto

   heavetothosevessels,in violation ofTitle 18,United StatesCode,Sections2237 and 2.

   OnJanuary 13,2012,UnitedStatesCoastGuard(USCG)agentsaboardaUSCG patrolvessel
   attemptedto interceptavessel,bearingFloridaRegistration FL0619GL,thatwasheaded

   towardthcU.S.m ainland.Thevesselisablack 35foot,M urray,CenterConsole,go-fast

   w ith triple M ercury V erado engines. A sthe U SCG approa.ched the vesselapproxim ately six

   m ilesfrom theUnited Statesshoreline,USCG agentsobser-/ed multiple individualsaboard

   the vessel,w ith tw o individualsatthe helm . The U SCG agents gave repeated com m ands for

   thevesseltoheavebutthetwo individualignored the comm ands.Thevesselcontinued in the

   dired ion ofBig M unson Island,which isoffshore ofR am rod K ey,and eventually ran


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    aground.Dueto theshallow waterstheUSCG wasforced to tenninatepursuit. The U SCG

    agentsthen obselwed everyoneon the vesselgetoffand fleqtoBig M unson lsland.

 4. TheUSCG maintained position offshoreBig M tmson lsland untillaw enforcementwasable

    toaccessBig M unson Island utilizing asmallvesselcapableofnavigatingthe shallow

    w aterw ays. O nce on B ig M unson Island,law enforcem entlocated 27 individualsbutthe tw o

    individualsobserved atthehelm ofthevesselwere notlocated. The 27 individualsclaimedto

   becitizensandnationalsofCubawithoutany statusin theU .S.These27 Cuban nationals

   weretransported totheM arathon BorderPatrolStation foradm inistrativeprocessing. A 1127

   Cuban nationalswere enrolled into the Integrated Autom ated FingerprintIdentifk ation

    System (lAFlS)whichrevealedthatthe27Cubannationalshadnopriorimmigrationhistory
   in theUnited States.

5. Law enforcem entmaintained surveillanceofBigM unson Island tolook outifanyonetried to

   leavetheisland.Inthe early m orninghoursofJanuary 14,2012,theUSCG observedtwo

   subjectsonBigM unson Island,nearthesiteofthelanding.However,whenBorderPatrol
   A gentsretuned to Big M unson lsland and searched again forseveralhours they did notlocate

   thetwo individuals.

   In theearly m orning hoursofJanuary 15,2012,a sm all'
                                                       knsselw asreported stolen from

   Cook'slsland,whichisadjacenttoBigMunsonIsland.A slnorttimelater,theUSCG
   observed said smallvesseladriftcloseto Big Pine Key,Florida.

   Law enforcementthen began searching the shore linein thisarea.Shortly thereafler,acitizen

   reportedasuspicioussubjectneartheW innDixieplazainBigPintKey,Florida,tothe
   M onroeCountySheriff'sOffice.Thecitizenadvisedthatthisindividual,amalesubjectin
   shortscovered in m ud,w asattem pting to m ake a phone callfrom apay phone. BorderPatrol


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    Agentsresponded to thelocation wherethey observed the suspiciousindivid
                                                                           ual,identified as
    Lew is D om inguez-Rodriguez, and recognized him from theUSCG video footageofthe

    previously mentioned pursuitofthe vesselcarrying the27 Cuban nàtionals. Records checks

    conducted revealed LewisDom inguez-Rodriguezhaspriorarresthijtory in theU .S.foralien

    sm uggling. LewisDom inguez-Rodriguezwasthen transported to theUSCG Station

    M arathon.

 8. OnceLewisDom inguez-Rodriguezarrived attheUSCG station, the U SCG agentsthat

    engaged in pursuitofthe black vessel, bearing FloridaRegistration FL0619GL, w ith 27

    Cubannationalsaboard on January 13, 20l2,positively identifed Lew isDom inguez-

    Rodriguez asoneofthetwo personsthey observed operatingthevesselatthehelm ofthe

   boat.

   Based on the foregoing itism y beliefthatthere is probable cause thaton oraboutJanuary 13,

   2012,Lew isDom inguez-Rodriguez did knowingly bring aliensto the United Statesata

   Pl
    aceotherthanadesignatedpo14ofentry,inviolationofTitle8, U nited StatesCode,Section
    1324(a)(1)(A)(i)andTitle l8,United StatesCode,Section2'
                                                          ,and,failedtoobeyordersgiven



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                         x.
                              N
                                  x
                                      %.




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    by authorized Federallaw enforcem entofficersto hea
                                                       veto those vessels,in violation ofTitle
    18,United StatesCode, Section 2237 and Title 18, United StatesCode
                                                                       ,   Section 2.

 FURTHER AFFIANT SAYETH NOT .



                                                      y
                                    M ikePetersen
                                    BorderPatrolA gent
                                    UnitedStatgsBorderPatrol

 swornandsubscribedtometssz7 dayorlanuary aoia.   ,




                    M .
   RAN A S.SNOW
 UNITED STATES M AGISTRATE JUDGE




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